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                                                               Rudofsky
                                                       Volpe
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